Case 8:15-cv-02019-JLS-DFM Document 33 Filed 05/25/16 Page 1 of 3 Page ID #:538



   1 Richard W. Miller (Admitted PHV)
       Terrence M. Jones (SBN 256603)
   2 BALLARD SPAHR LLP
       2029 Century Park East, Suite 800
   3 Los Angeles, CA 90067-2909
       424.204.4400 | jonestm@ballardspahr.com
   4
       Attorneys for Plaintiffs LARADA
   5 SCIENCES, INC. and UNIVERSITY OF
       UTAH RESEARCH FOUNDATION
   6

   7 Thomas C. Richardson (SBN 244461)
       RUTAN & TUCKER, LLP
   8 611 Anton Boulevard, Suite 1400
       Costa Mesa, California 92626-1937
   9 714.641.5100 | trichardson@rutan.com

  10 Attorneys for Defendant PICKY PAM
       AT THE BEACH LLC
  11

  12

  13                        UNITED STATES DISTRICT COURT

  14                      CENTRAL DISTRICT OF CALIFORNIA

  15
       LARADA SCIENCES, INC., a Delaware         Case No. CV15-2019 JLS (DFMx)
  16 corporation; and UNIVERSITY OF
       UTAH RESEARCH FOUNDATION,
  17 a Utah nonprofit corporation,

  18                         Plaintiffs,           STIPULATION OF DISMISSAL
  19         v.
  20 PICKY PAM AT THE BEACH, LLC,                Hon. Josephine L. Staton
       a California limited liability company,
  21                                             U.S. District Court Judge
                             Defendant.
  22

  23

  24

  25

  26

  27

  28
Case 8:15-cv-02019-JLS-DFM Document 33 Filed 05/25/16 Page 2 of 3 Page ID #:539



   1         WHEREAS, on December 12, 2015, Plaintiffs, Larada Sciences, Inc. and
   2 the University of Utah Research Foundation (“Plaintiffs”), filed the instant action

   3 against Defendant Picky Pam at the Beach, LLC (“Defendant”), alleging

   4 infringement of two registered patents relating to methods and devices for

   5 eliminating ectoparasites, such as head lice. [Dkt. No. 1.]

   6         WHEREAS, on April 1, 2016, Plaintiffs and Defendant jointly filed a
   7 Notice of Settlement advising the Court that they had reached an agreement in

   8 principle to resolve this matter short of further judicial intervention. [Dkt. No. 31.]

   9         WHEREAS, on April 5, 2016, the Court issued an Order staying this action
  10 and removing it from its active caseload pending the parties’ consummation of

  11 their settlement agreement. [Dkt. No. 32.]

  12

  13

  14         NOW THEREFORE, IT IS HEREBY STIPULATED by and between
  15 Plaintiffs and Defendants, by and through their undersigned counsel, as follows:

  16         1.    Plaintiffs voluntarily stipulate and agree to dismiss this action in its
  17 entirety, with prejudice, as the parties have finalized and executed a settlement

  18 agreement in this matter.

  19         2.    Plaintiffs and Defendant further stipulate and agree that the Court
  20 need not retain jurisdiction over this matter and may close the matter entirely.

  21         3.    Plaintiffs and Defendant further stipulate and agree that each party
  22 shall bear their own attorneys’ fees, expenses, and costs of suit.

  23

  24

  25

  26

  27 / / /

  28 / / /


                                                 1
Case 8:15-cv-02019-JLS-DFM Document 33 Filed 05/25/16 Page 3 of 3 Page ID #:540



   1
       DATED: May 25, 2016                  BALLARD SPAHR LLP
   2

   3                                        /s/ TMJ
                                             Terrence M. Jones
   4
                                            Attorneys for Plaintiffs LARADA
   5                                        SCIENCES, INC. and UNIVERSITY OF
                                            UTAH RESEARCH FOUNDATION
   6

   7

   8
       DATED: May 25, 2016                  RUTAN & TUCKER, LLP
   9

  10                                        /s/ TCR
                                             Thomas C. Richardson
  11
                                            Attorneys for Defendant PICKY PAM
  12                                        AT THE BEACH, LLC
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


                                           2
